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           EXHIBIT C
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Tesla Motors Inc
Automotive – Auto OEMs


 Private Tesla to send ripples across industry
 ●     Taking Tesla out of the spotlight? In an announcement on Tuesday                                  8 August 2018
       afternoon, Tesla CEO Elon Musk wrote in a blog post that he is
       considering taking the company private at $420/share. This is still subject
       to shareholders’ approval, which may be the most obvious challenge for
       the transaction. The funding of the transaction is unclear, but is                                     BUY
       potentially less of an obstacle than obtaining shareholders’ approval, in
       our view. We consider the $420/share proposal as low and believe the fair
                                                                                                         Current price                 Price target
       value per share is higher at $500.                                                                USD379.57 USD500.00
 ●     Securing long-term ambitions: The move to potentially take Tesla private                          07/08/2018 NASDAQ Close
       would undoubtedly have wide-ranging implications for the entire
       automotive industry. However, despite the market’s surprise at Mr Musk’s                          Market cap (USD m)         57,846
       announcement, such a move is perhaps easier to justify than it initially                          Reuters            TSLA.O
       seems. It removes Tesla from the glare of the public market’s short-                              Bloomberg          TSLA US
       termism, allowing the company easier access to funding sources that are
       more aligned with Mr Musk’s longer-term ambitions. Furthermore, with                              Changes made in this note
       potentially less burdensome disclosure requirements, the company will
                                                                                                         Rating:       Buy (no change)
       likely find itself more nimble in addressing opportunities to expand its
                                                                                                         Price target: USD 500.00 (no change)
       regional footprint and product portfolio, without the pressure of short-
       term financial targets.                                                                           Estimates changes
 ●     Private Tesla adds risks and uncertainties for OEMs: For the traditional                                     2018E      2019E      2020E
                                                                                                                  old ∆ % old ∆ % old ∆ %
       OEMs, a privately held Tesla exacerbates several problems. Firstly, the
                                                                                                         Sales   20,816   - 32,732   - 42,239   -
       company will be much better placed to execute its expansion plans, such                           EBIT     -604    - 1,525    - 2,889    -
       as in China and Europe, with potentially accelerated timeframes. That                             EPS      -3.52   - 6.71     - 12.91    -
                                                                                                         Source: Berenberg estimates
       means Tesla competitors may have even less time to produce viable
       alternatives, or risk losing significant market share. Meanwhile, with                            Share data
       likely less visibility on profitability or investment levels at Tesla, the OEMs                   Shares outstanding (m)                    169
       will struggle to benchmark their own electric vehicle development plans                           Enterprise value (USD m)               66,398
       and gauge the risk of becoming laggards. That means the OEMs may need                             Daily trading volume                    6.9m
       to bolster their own investment plans, putting cash flow and return
       targets in danger.
                                                                                                         Key data
 ●     Deal structure would allow shareholders to decide: If the proposal is
                                                                                                         Price/book value                           16.8
       approved, shareholders who value the company above $420/share may
                                                                                                         Net debt/equity                         223.1%
       still choose to retain ownership in a privately owned Tesla. By allowing                          CAGR sales 2017-2020                     53.2%
       existing shareholders to participate in the transition, the deal should                           CAGR EPS 2017-2020                        n.m.
       largely preserve the current shareholder structure. As with SpaceX, there
       will be no liquid secondary market, except for periodic events when
       shares in the private company can be traded. With respect to shareholders
       who choose to accept cash, funding for the transaction will likely be
       raised from strategic investors and/or debt – a scenario in which 20% of
       shares are exchanged for cash would imply that funding of around $14bn
       is required.
 ●     Fundamentals justify higher premium: Although a premium of around
       20% to Monday’s close would offer shareholders some near-term upside,
                                                                                                         Source: Thomson Reuters Datastream
       the fundamental value of the company is significantly higher, in our view.
       Under private ownership, an acceleration of expansion plans could unlock
       Tesla’s full potential value much earlier than anticipated.

 Y/E 31/12, USD m                   2016        2017         2018E        2019E      2020E
 Volumes                           76,230     103,055       240,380      427,000     572,770
 Sales                              7,000       11,759       20,816        32,732     42,239
 EBIT                                 -667      -1,632          -604        1,525      2,889
 Net profit                           -675       -1,961        -1,159         545       1,417
 EPS                                 -4.68       -11.83         -6.85        3.22        8.38
 EPS (Non-GAAP)                       -2.87       -8.67         -3.52         6.71      12.91
 Free cash flow                     -1,405      -3,475         -1,154         729       1,475
 Free cash flow (Non-GAAP)            -635     -2,964         -1,504          379        1,125
 Gross margin                       22.8%        18.9%         17.3%        21.3%      23.2%
 EBIT margin                         -9.5%     -13.9%          -2.9%         4.7%       6.8%
 EV/Sales                               4.8         4.9            3.2         2.0          1.5
Source: Company data, Berenberg


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    BUY                                                                                      Investment thesis
                                                                                             ●     Superior electronic architecture: Tesla’s centralised,
8 August 2018                                  Reuters                       TSLA.O
                                                                                                   integrated, technology-driven architecture enables flexibility and
                                               Bloomberg                    TSLA US                OTA software upgradeability across the entire domain. This
Current price         Price target                                                                 stands in sharp contrast to the traditional OEMs, which add
                                                                                                   technology to the legacy architecture. For OEMs, a sweeping
                                               Market cap (USD m)            57,846
USD379.57 USD500.00                                                                                overhaul of the entire architecture is necessary, but this comes
                                                                                                   at a high cost and risk.
07/08/2018 NASDAQ Close                        EV (USD m)                    66,398
                                               Trading volume                 6.9m           ●     Model 3 gross margin to positively surprise: The widespread
                                                                                                   assumption that Model 3 margins can be directly inferred from
                                               Free float                     75.0%                Model S/X is inherently and almost totally flawed. Substantial gains
Non-institutional shareholders                 Share performance                                   from lower labour content, as well as capital and material use
                                                                                                   efficiencies, should allow Tesla to comfortably achieve a margin
Elon Musk: 19.87%                              High 52 weeks           USD 385.00                  above 25% throughout the product cycle.
Tencent Holdings: 4.92%                        Low 52 weeks            USD 252.48
                                                                                             ●     Significant advantage on battery technology: We expect Tesla
Business description                           Performance relative to                             to remain the battery technology leader, as traditional OEMs have
Tesla manufactures and sells passenger                      S&P              SXAP                  shown little effort to commit meaningful capital to battery
electric cars under the Tesla brand and also                                                       technology. Tesla’s temperature management is the most
                                                            500                                    sophisticated in the industry, allowing better resilience to capacity
sells stationary storage batteries for both      1mth   7.4%                   11.9%
residential and industrial applications.                                                           degradation, and consequently better residual values.
                                                3mth    6.3%                  26.4%
                                                12mth -18.6%                  -7.6%          ●     DCF-
                                                                                                   DCF-based valuation: Based on normalised annualised volumes of
                                                                                                   1.7m vehicles by 2030E, terminal growth of 2.5% and WACC of 9.5%,
                                                                                                   our DCF yields a fair value of $500 per share.

Profit and loss summary                                                                  Cash flow summary
USD m                          2016      2017      2018E      2019E          2020E       USD m                              2016      2017 2018E 2019E 2020E
Revenues                       7,000     11,759    20,816         32,732      42,239     Net income                           -773    -2,241    -1,459         295       1,167
EBITDA                            280         4      1,165         3,462       5,017     Depreciation                          477       769       1,127      1,317      1,518
EBITA                            -198      -765         38         2,146       3,499     Working capital changes               176      -318     -1,142      -1,413    -1,896
EBIT                             -667    -1,632      -604          1,525       2,889     Other non-cash items                   -4     1,728      3,183      3,732      4,467
Associates contribution             -         -          -              -           -    Operating cash flow                  -124        -61    1,709        3,931     5,256
Net interest                     -190     -452       -694         -1,052       -1,312    Capex                              -1,281    -3,415    -2,863      -3,202     -3,781
Tax                                27        32         37             78         310    FCFE                              -1,405    -3,475      -1,154        729      1,475
Minorities                        -98      -279      -300           -250        -250     Acquisitions, disposals                54      -781      -450        -450       -450
Net income adj.                  -675    -1,961     -1,159           545        1,417    Other investment CF                  -189      -223           0          0          0
EPS reported                    -4.68    -11.83     -6.85            3.22        8.38    Dividends paid                          -          -          -          -          -
EPS adjusted                    -2.87     -8.67      -3.52           6.71       12.91    Buybacks, issuance                  1,702      400            0          0          0
Year end shares                   144       166        169           169          169    Change in net debt                 1,980     3,496      1,604        -279     -1,025
Average shares                    144       166        169           169          169    Net debt (cash negative)            3,451    6,947       8,551      8,272      7,247
DPS                                 -         -          -              -           -    FCF per share                       -9.74   -20.97       -6.82        4.31       8.72

Growth and margins                                                                       Key ratios
                               2016      2017      2018E      2019E 2020E                                                   2016      2017 2018E 2019E 2020E
Revenue growth                 73.0%     68.0%    77.0%  57.2%                 29.0%     Net debt / equity                 72.6% 163.9%         223.1% 160.4%          96.2%
EBITDA growth                -195.1%    -98.6% 29632.7% 197.3%                 44.9%     Net debt / EBITDA                   12.3 1773.5            7.3    2.4            1.4
EBIT growth                    -6.9%    144.6% -63.0% -352.5%                  89.4%     Avg cost of debt                   1.0%    1.4%          1.6%   2.1%           2.3%
EPS adj growth               -46.8%     202.3% -59.4% -290.8%                  92.5%     Tax rate                          -3.6%   -1.4%         -2.6%  21.0%          21.0%
FCF growth                   -35.0%     147.4% -66.8% -163.2%                 102.3%     Interest cover                      -3.4    -3.5          -0.8    1.4            2.2
EBITDA margin                   4.0%       0.0%    5.6%  10.6%                  11.9%    Payout ratio                           -       -             -      -              -
EBIT margin                    -9.5%     -13.9%   -2.9%   4.7%                  6.8%     ROCE                              -4.3%   -8.3%         -2.9%   6.3%          10.2%
Net income margin             -11.0%     -19.1%   -7.0%   0.9%                   2.8%    Capex / sales                     18.3% 29.0%           13.8%   9.8%           9.0%
FCF margin                   -49.6%       -9.8%    3.5%   0.0%                  0.0%     Capex / depreciation             268.3% 443.9%         254.1% 243.2%         249.1%

Valuation metrics                                                                        Key risks to our investment thesis
                               2016      2017      2018E      2019E 2020E                ●       Material ramp-up problems/delays with the Model 3 could pose a risk.
P / adjusted EPS                -73.2      -36.2   -108.0           56.6        29.4
                                                                                         ●       Potential cash-out for cars sold with resale value guarantees could
P / book value                    6.4       12.3      16.8          12.4          8.5
                                                                                                 lead to pressure on cash flows.
FCF yield                      -4.6%      -6.9%     -2.0%           1.3%        2.6%
Dividend yield                      -          -         -              -           -    ●       A change in traditional OEMs’ strategies, such as a material step-up in
EV / sales                        4.8        4.9       3.2            2.0         1.5            EV investments, could put more pressure on Tesla’s business.
EV / EBITDA                    120.6    14613.9       57.0           19.1        13.0
EV / EBIT                      -50.6       -35.1   -109.9           43.3        22.5     ●       Product reliability issues and faults could result in higher costs.
EV / FCF                       -24.0       -16.5     -57.5          90.7         44.1
EV / cap. employed                2.2        2.9       3.2            2.7         2.3    ●       Failure of the autopilot could lead to lower take rates.


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Production of the recommendation completed: 08.08.2018, 07:19

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Date                      Price target - USD      Rating           First dissemination GMT Initiation of coverage
03 November 17            455.00                  Buy              2017-11-03 12:22                  02 February 16
08 February 18            470.00                  Buy              2018-02-08 12:49
18 May 18                 500.00                  Buy              2018-05-21 07:01


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Sell              11.98 %                  0.00 %
Hold             37.76 %                   21.79 %



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  Zaim Beekawa              +44 20 3207 7855    Henrik Paganetty           +44 20 3453 3140    Iain Pearce                    +44 20 3465 2665    Robert Lamb                +44 20 3465 2623
  Tom Burlton               +44 20 3207 7852    Benjamin Pfannes-Varrow    +44 20 3465 2620    Philip Ross                    +44 20 3465 2726    Paul Marsch                +44 20 3207 7857
  Roberta Ciaccia           +44 20 3207 7805                                                                                                      Saliha Shariff             +44 20 3753 3097
  Najet El Kassir           +44 20 3207 7836    GENERAL MID CAP - EU core                      LUXURY GOODS
  William Fitzalan Howard   +44 20 3465 2640    Beatrice Allen            +44 20 3465 2662     Mariana Horn                   +44 20 3753 3044    TOBACCO
  Stuart Gordon             +44 20 3207 7858    Christoph Greulich         +44 20 3753 3119    Lauren Molyneux                +44 20 3207 7892    Jonathan Leinster         +44 20 3465 2645
  Annabel Hay-Jahans        +44 20 3465 2720    Andreas Markou            +44 20 3753 3022     Zuzanna Pusz                   +44 20 3207 7812
  Joel Spungin              +44 20 3207 7867    Anna Patrice              +44 20 3207 7863                                                        UTILITIES
  Adrian Yanoshik           +44 20 3753 3073    Trion Reid                 +44 20 3753 3113    MEDIA                                              Oliver Brown               +44 20 3207 7922
                                                                                               Robert Berg                    +44 20 3465 2680    Andrew Fisher              +44 20 3207 7937
  CAPITAL GOODS                                 GENERAL MID CAP - UK                           Keisi Hysa                      +44 20 3207 7817   Lawson Steele              +44 20 3207 7887
  Nicholas Housden          +44 20 3753 3050    Joseph Barron              +44 20 3207 7828    Laura Janssens                 +44 20 3465 2639
  Sebastian Kuenne          +44 20 3207 7856    Calum Battersby             +44 20 3753 3118   Alastair Reid                   +44 20 3207 7841
  Philippe Lorrain          +44 20 3207 7823    Robert Chantry             +44 20 3207 7861    Sarah Simon                    +44 20 3207 7830
  Rizk Maidi                +44 20 3207 7806    Sam Cullen                  +44 20 3753 3183                                                      ECONOMICS
  Jaroslaw Pominkiewicz     +44 20 3753 3035    Ned Hammond                 +44 20 3753 3017   METALS & MINING                                    Florian Hense              +44 20 3207 7859
  Simon Toennessen          +44 20 3207 7819    Omar Ismail                 +44 20 3753 3102   Charlie Clark                   +44 20 3207 3133   Carsten Hesse              +44 20 3753 3001
  Ethan Zhang               +44 20 3465 2634    Anthony Plom               +44 20 3207 7908    Richard Hatch                  +44 20 3753 3070    Kallum Pickering           +44 20 3465 2672
                                                Edward James               +44 20 3207 7811    Laurent Kimman                 +44 20 3465 2675    Holger Schmieding          +44 20 3207 7889
                                                Lush Mahendrarajah         +44 20 3207 7896    Michael Stoner                 +44 20 3465 2643


  EQUITY SALES
  SPECIALIST SALES                              FRANCE (cont'd)                                UK (cont'd)                                        CRM
  AEROSPACE & DEFENCE & CAPITAL GOODS           Kevin Nor                   +33 1 5844 9505    Christopher Pyle               +44 20 3753 3076    Laura Cooper               +44 20 3753 3065
  Cara Luciano               +44 20 3753 3146   Guillaume Viret              +331 5844 9507    Adam Robertson                 +44 20 3753 3095    Jessica Jarmyn             +44 20 3465 2696
  AUTOS & TECHNOLOGY                                                                           Joanna Sanders                 +44 20 3207 7925    Madeleine Lockwood          +44 20 3753 3110
  Edward Wales               +44 20 3207 7815   SCANDINAVIA                                    Mark Sheridan                  +44 20 3207 7802    Vikram Nayar               +44 20 3465 2737
  BANKS, DIVERSIFIED FINANCIALS & INSURANCE     Mikko Vanhala              +44 20 3207 7818    George Smibert                  +44 20 3207 7911   Rita Pilar                 +44 20 3753 3066
  Calum Marris              +44 20 3753 3040    Marco Weiss               +49 40 350 60 719    Alexander Wace                 +44 20 3465 2670
  BUSINESS SERVICES, LEISURE & TRANSPORT                                                       Paul Walker                    +44 20 3465 2632
  Rebecca Langley           +44 20 3207 7930    UK                                                                                                CORPORATE ACCESS
  CONSUMER DISCRETIONARY                        James Burt                 +44 20 3207 7807    GERMANY                                            Lindsay Arnold              +44 20 3207 7821
  Victoria Maigrot          +44 20 3753 3010    Fabian De Smet             +44 20 3207 7810    Michael Brauburger           +49 69 91 30 90 741   Robyn Gowers               +44 20 3753 3109
  CONSUMER STAPLES                              Marta De-Sousa Fialho      +44 20 3753 3098    Nina Buechs                  +49 69 91 30 90 735   Dipti Jethwani             +44 20 3207 7936
  Ramnique Sroa             +44 20 3753 3064    Jules Emmet                +44 20 3753 3260    André Grosskurth             +49 69 91 30 90 734   Ross Mackay                +44 20 3207 7866
  HEALTHCARE                                    Katie Ferry                +44 20 3753 3041    Joerg Wenzel                 +49 69 91 30 90 743   Stella Siggins             +44 20 3465 2630
  David Hogg                +44 20 3465 2628    Robert Floyd               +44 20 3753 3018                                                       Lucy Stevens               +44 20 3753 3068
  THEMATICS                                     David Franklin             +44 20 3465 2747    SWITZERLAND, AUSTRIA & ITALY                       Abbie Stewart              +44 20 3753 3054
  Chris Armstrong           +44 20 3207 7809    Karl Hancock               +44 20 3207 7803    Duncan Downes               +41 22 317 1062
                                                Sean Heath                 +44 20 3465 2742    Andrea Ferrari             +41 44 283 2020
  SALES                                         Stuart Holt                +44 20 3465 2646    Gianni Lavigna             +41 44 283 2038         EVENTS
  BENELUX                                       James Hunt                 +44 20 3753 3007    Jamie Nettleton            +41 44 283 2026         Charlotte David            +44 20 3207 7832
  Miel Bakker               +44 20 3207 7808    James McRae                +44 20 3753 3036    Yeannie Rath               +41 44 283 2029         Suzy Khan                  +44 20 3207 7915
  Bram van Hijfte           +44 20 3753 3000    David Mortlock             +44 20 3207 7850    Mirco Tieppo               +41 44 293 2024         Natalie Meech              +44 20 3207 7831
                                                Eleni Papoula              +44 20 3465 2741                                                       Eleanor Metcalfe           +44 20 3207 7834
  FRANCE                                        Bhavin Patel               +44 20 3207 7926    COO Office                                         Rebecca Mikowski           +44 20 3207 7822
  Alexandre Chevassus         +33 1 5844 9512   Kushal Patel               +44 20 3753 3038    Greg Swallow                   +44 20 3207 7833    Sarah Weyman               +44 20 3207 7801
  Dalila Farigoule            +33 1 5844 9510   Richard Payman             +44 20 3207 7825    Fenella Neill                  +44 20 3207 7868




  SALES TRADING                                                                                EQUITY TRADING                                     ELECTRONIC TRADING
  LONDON                                        PARIS                                          HAMBURG                                            Jonas Doehler             +44 40 350 60 391
  Assia Adanouj             +44 20 3753 3087    Vincent Klein              +33 1 58 44 95 09   David Hohn                    +49 40 350 60 761    Matthias Führer           +49 40 350 60 597
  Charles Beddow            +44 20 3465 2691    Antonio Scuotto            +33 1 58 44 95 03   Gregor Labahn                 +49 40 350 60 571    Sven Kramer               +49 40 350 60 347
  Mike Berry                +44 20 3465 2755                                                   Lennart Pleus                 +49 40 350 60 596    Matthias Schuster         +44 40 350 60 463
  Joseph Chappell           +44 20 3207 7885                                                   Marvin Schweden               +49 40 350 60 576
  Stewart Cook              +44 20 3465 2752                                                   Omar Sharif                   +49 40 350 60 563
  Mark Edwards              +44 20 3753 3004                                                   Philipp Wiechmann             +49 40 350 60 346
  Tom Floyd                  +44 20 3753 3136                                                  Christoffer Winter            +49 40 350 60 559
  Tristan Hedley            +44 20 3753 3006
  Peter King                 +44 20 3753 3139                                                  LONDON
  Simon Messman             +44 20 3465 2754                                                   Christopher Brown              +44 20 3753 3085
  AJ Pulleyn                +44 20 3465 2756                                                   Edward Burlison-Rush           +44 20 3753 3005
  Matthew Regan             +44 20 3465 2750                                                   Richard Kenny                  +44 20 3753 3083
  Michael Schumacher        +44 20 3753 3006                                                   Chris McKeand                  +44 20 3207 7938
  Paul Somers               +44 20 3465 2753                                                   Ross Tobias                     +44 20 3753 3137
                                                                                               Robert Towers                  +44 20 3753 3262




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Contacts


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  EQUITY RESEARCH                              EQUITY SALES
  HEALTHCARE - MED. TECH/SERVICES              SALES
  Ravi Misra                +1 646 949 9028    Albert Aguiar           +1 646 949 9218    CORPORATE ACCESS                                ECONOMICS
                                               Enrico DeMatt           +1 646 949 9230    Olivia Lee                   +1 646 949 9207    Mickey Levy                 +1 646 949 9099
  HEALTHCARE - SPECIALTY PHARMACEUTICALS       Kelleigh Faldi           +1 617 292 8288   Robert Meyers                +1 646 949 9215    Roiana Reid                 +1 646 949 9098
  Patrick R. Trucchio       +1 646 949 9027    Ted Franchetti           +1 646 949 9231   Panthea O'Connell            +1 646 949 9208
                                               Shawna Giust             +1 646 949 7216
  LEISURE                                      Rich Harb                +1 617 292 8228   CRM                                             SALES TRADING
  Brennan Matthews           +1 646 949 9024   Zubin Hubner            +1 646 949 9202    LaJada Gonzales               +1 646 949 9213   Ronald Cestra               +1 646 949 9104
                                               Michael Kaye            +1 646 949 9216    Monika Kwok                   +1 646 949 9212   Mark Corcoran               +1 646 949 9105
  INDUSTRIAL MATERIALS                         Jessica London          +1 646 949 9203    Stephanie Rieben             +1 646 949 9240    Michael Haughey             +1 646 949 9106
  Paretosh Misra             +1 646 949 9031   Anthony Masucci          +1 646 949 9217                                                   Christopher Kanian          +1 646 949 9103
                                               Ryan McDonnell          +1 646 949 9214    EVENTS                                          Lars Schwartau              +1 646 949 9101
  SHIPPING & TRANSPORTATION                    Emily Mouret             +1 415 802 2525   Laura Hawes                  +1 646 949 9209    Bob Spillane                +1 646 949 9102
  Donald McLee              +1 646 949 9026    Peter Nichols           +1 646 949 9201
                                               Kieran O'Sullivan        +1 617 292 8292
  SOFTWARE & IT SERVICES                       Rodrigo Ortigao         +1 646 949 9205
  Alexander Frankiewicz      +1 646 949 9029
  Gal Munda                  +1 646 949 9021




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